Case 1:18-mj-00123-DAR Document 6 Filed 10/10/18 Page 1 of 11

U.S. Department of Justice

Jessie K. Liu
United States Attorney

 

District of Columbia

 

Judiciary Cemer
555 Fourlh Sl., N.W.
Washinglon, D.C. 20530

October 10, 2018

Steve McCool F I L E D

Mallon & McCool, LLC

1776 K street, N.W., suite 200
Washington, D.C. 20006 OCT l 0 2013
Telephone: 202-393-7083 Clerk, U.S. District am

Bankruptcy Courts
Re: United States v. Azher Salikuddin
Criminal Case No.
Dear Mr. McCool:

This letter sets forth the full and complete plea offer to your client, Azher Salikuddin,
(hereinafter referred to as “your client” or “defendant”), from the Office of the United States
Attorney for the District of Columbia (hereinafter also referred to as “the Government” or “this
Offlce”). This plea offer expires on October 10, 2018. If your client accepts the terms and
conditions of this offer, please have your client execute this document in the space provided
below. Upon receipt of the executed document, this letter Will become the Plea Agreement
(hereinafter referred to as “this Agreement”). The terms of the offer are as follows:

1. Charges and Statl_ltorv Penalties

Your client agrees to plead guilty to a criminal Information, a copy of Which is attached,
charging your client With knowing conversion of a thing of value of the United States, in
violation of 18 U.S.C. § 641.

Your client understands that a misdemeanor violation of 18 U.S.C. § 641 carries a
maximum sentence of not more than one year of imprisonment; a fine of not more than
$100,000, pursuant to 18 U.S.C. § 3571(b)(5); a term of supervised release of not more than one
year, pursuant to 18 U.S.C. § 3583(b)(3); and an obligation to pay any applicable interest or
penalties on f1nes not timely made.

In addition, your client agrees to pay a special assessment of $25 per misdemeanor
conviction to the Clerk of the United States District Court for the District of Columbia. Your
client also understands that, pursuant to 18 U.S.C. § 3572 and § 5E1.2 of the United States
Sentencing Commission, Guidelines Manual (2014) (hereinafter “Sentencing Guidelines,”
“Guidelines,” or “U.S.S.G.”), the Court may also impose a fine that is sufficient to pay the

Page 1 of 10

Case 1:18-mj-00123-DAR Document 6 Filed 10/10/18 Page 2 of 11

federal government the costs of any imprisonment, term of supervised release, and period of
probation.

2. Factual Stigu|ations

Your client agrees that the attached “Proffer of Proof’ fairly and accurately describes
your client’s actions and involvement in the offense to which your client is pleading guilty.
Please have your client sign and return the Proffer of Proof as a written proffer of evidence,
along with this Agreement.

3. Additional Chargcs

In consideration of your client’s guilty plea to the above offense, your client will not be
further prosecuted criminally by this Office for the conduct set forth in the attached Proffer of
Proof.

4. Additinnal Agreement

In addition to the plea agreement detailed herein, your client agrees not to seek or apply
for a security clearance from the United States Government or any of its departments or
agencies, or for a job which requires such a clearance. That agreement is embodied within a
separate document entititled “Agreement of Azher Salikuddin.”

5. Sentencing Guidclines Analvsis

Your client understands that the sentence in this case will be determined by the Court,
pursuant to the factors set forth in 18 U.S.C. § 3553(a), including a consideration of the
Sentencing Guidelines. Pursuant to F ederal Rule of Criminal Procedure ll(c)(l)(B), and to
assist the Court in determining the appropriate sentence, the parties agree to the following:

A. Estimated Offense Level Under the Guidelines
The parties agree that the following Sentencing Guidelines sections apply:
U.S.S.G. § ZBl.l Base Offense Level 6

The Government agrees that a 2-level reduction will be appropriate, pursuant to U.S.S.G.
§ 3E1.1, provided that your client clearly demonstrates acceptance of responsibility, to the
satisfaction of the Government, through your client’s allocution, adherence to every provision of
this Agreement, and conduct between entry of the plea and imposition of sentence.

Nothing in this Agreement limits the right of the Government to seek denial of the
adjustment for acceptance of responsibility, pursuant to U.S.S.G. § 3E1.1, and/or imposition of
an adjustment for obstruction of justice, pursuant to U.S.S.G. § 3C1.1, regardless of any
agreement set forth above, should your client move to withdraw your client’s guilty plea after it
is entered, or should it be determined by the Government that your client has either (a) engaged

Page 2 of 10

Case 1:18-mj-00123-DAR Document 6 Filed 10/10/18 Page 3 of 11

in conduct, unknown to the Government at the time of the signing of this Agreement, that
constitutes obstruction of justice, or (b) engaged in additional criminal conduct after signing this
Agreement.

In accordance with the above, the Estimated Offense Level will be at least Level 4.

B. Estimated Criminal History Category

Based upon the information now available to this Offlce, your client has no criminal
convictions.

Accordingly, your client is estimated to have no criminal history points and your client’s
Criminal History Category is estimated to be Category 1 (the “Estimated Criminal History
Category”). Your client acknowledges that after the pre-sentence investigation by the United
States Probation Offlce, a different conclusion regarding your client’s criminal convictions
and/or criminal history points may be reached and your client’s criminal history points may
increase.

C. Estimated Guidelines Range

Based upon the Estimated Offense Level and the Estimated Criminal History Category
set forth above, your client’s estimated Sentencing Guidelines range is zero months to six
months (the “Estimated Guidelines Range”). In addition, the parties agree that, pursuant to
U.S.S.G. § 5E1.2, should the Court impose a fme, at Estimated Offense Level 4, the estimated
applicable flne range is $250 to $5,000. Your client reserves the right to ask the Court not to
impose any applicable fine.

The parties agree that, solely for the purposes of calculating the applicable range under
the Sentencing Guidelines, neither a downward nor upward departure from the Estimated
Guidelines Range set forth above is warranted. The parties also agree that neither party will seek
any offense-level calculation different from the Estimated Offense Level calculated above in
subsection A. However, the parties are free to argue for a Criminal History Category different
from that estimated above in subsection B.

Your client understands and acknowledges that the Estimated Guidelines Range
calculated above is not binding on the Probation Offlce or the Court. Should the Court or
Probation Office determine that a guidelines range different from the Estimated Guidelines
Range is applicable, that will not be a basis for withdrawal or recission of this Agreement by

either party.

Your client understands and acknowledges that the terms of this section apply only to
conduct that occurred before the execution of this Agreement. Should your client commit any
conduct after the execution of this Agreement that would form the basis for an increase in your
client’S base offense level or justify an upward departure (examples of which include, but are not
limited to, obstruction of justice, failure to appear for a court proceeding, criminal conduct while
pending sentencing, and false statements to law enforcement agents, the probation officer, or the

Page 3 of 10

Case 1:18-mj-00123-DAR Document 6 Filed 10/10/18 Page 4 of 11

Court), the Government is free under this Agreement to seek an increase in the base offense level
based on that post-agreement conduct.

6. Agreement as to Sentencing Al|ocutic)n

The parties further agree that a sentence within the Estimated Guidelines Range would
constitute a reasonable sentence in light of all of the factors set forth in 18 U.S.C. § 3553(a),
should such a sentence be subject to appellate review notwithstanding the appeal waiver
provided below. Nevertheless, your client reserves the right to seek a sentence below the
Estimated Guidelines Range based upon factors to be considered in imposing a sentence
pursuant to 18 U.S.C. § 3553(a).

7. Reservation of Allocution

The Government and your client reserve the right to describe fully, both orally and in
writing, to the sentencing judge, the nature and seriousness of your client’s misconduct,
including any misconduct not described in the charges to which your client is pleading guilty.
The parties also reserve the right to inform the presentence report writer and the Court of any
relevant facts, to dispute any factual inaccuracies in the presentence report, and to contest any
matters not provided for in this Agreement. In the event that the Court considers any Sentencing
Guidelines adjustments, departures, or calculations different from those agreed to and/or
estimated in this Agreement, or contemplates a sentence outside the Guidelines range based upon
the general sentencing factors listed in 18 U.S.C. § 3553(a), the parties reserve the right to
answer any related inquiries from the Court and to allocute for a sentence within the Guidelines
range, as ultimately determined by the Court, even if the Guidelines range ultimately determined
by the Court is different from the Estimated Guidelines Range calculated herein.

In addition, if in this Agreement the parties have agreed to recommend or refrain from
recommending to the Court a particular resolution of any sentencing issue, the parties reserve the
right to full allocution in any post-sentence litigation. The parties retain the full right of
allocution in connection with any post-sentence motion which may be filed in this matter and/or
any proceeding(s) before the Bureau of Prisons. In addition, your client acknowledges that the
Government is not obligated and does not intend to f11e any post-sentence downward departure
motion in this case pursuant to Rule 35(b) of the Federal Rules of Criminal Procedure.

8. Court Not Bound bv this Agreement or the Sentencing Guidelines

Your client understands that the sentence in this case will be imposed in accordance with
18 U.S.C. § 3553(a), upon consideration of the Sentencing Guidelines. Your client further
understands that the sentence to be imposed is a matter solely within the discretion of the Court.
Your client acknowledges that the Court is not obligated to follow any recommendation of the
Government at the time of sentencing Your client understands that neither the Government’s
recommendation nor the Sentencing Guidelines are binding on the Court.

Your client acknowledges that your client’s entry of a guilty plea to the charged offense
authorizes the Court to impose any sentence, up to and including the statutory maximum

Page 4 of 10

Case 1:18-mj-00123-DAR Document 6 Filed 10/10/18 Page 5 of 11

sentence, which may be greater than the applicable Guidelines range. The Government cannot,
and does not, make any promise or representation as to what sentence your client will receive.
Moreover, it is understood that your client will have no right to withdraw your client’s plea of
guilty should the Court impose a sentence that is outside the Guidelines range or if the Court
does not follow the Government’s sentencing recommendation The Government and your client
will be bound by this Agreement, regardless of the sentence imposed by the Court. Any effort
by your client to withdraw the guilty plea because of the length of the sentence shall constitute a
breach of this Agreement.

9. Conditions of Release

Your client acknowledges that, although the Government will not seek your client’s
detention pending sentencing, the final decision regarding your client’s bond status or detention
will be made by the Court at the time of your client’s plea of guilty. The Government may move
to change your client’s conditions of release, including requesting that your client be detained
pending sentencing, if your client engages in further criminal conduct prior to sentencing or if
the Government obtains information that it did not possess at the time of your client’s plea of
guilty and that is relevant to whether your client is likely to flee or pose a danger to any person or
the community. Your client also agrees that any violation of your client’s release conditions or
any misconduct by your client may result in the Government flling an ex gte motion with the
Court requesting that a bench warrant be issued for your client’s arrest and that your client be
detained without bond while pending sentencing in your client’s case.

10. Waivers
a. Venue

Your client waives any challenge to venue in the District of Columbia.
b. Statute of Limitations

Your client agrees that, should the conviction following your client’s plea of guilty
pursuant to this Agreement be vacated for any reason, any prosecution, based on the conduct set
forth in the attached Proffer of Proof, that is not time-barred by the applicable statute of
limitations on the date of the signing of this Agreement (including any counts that the
Government has agreed not to prosecute or to dismiss at sentencing pursuant to this Agreement)
may be commenced or reinstated against your client, notwithstanding the expiration of the statute
of limitations between the signing of this Agreement and the commencement or reinstatement of
such prosecution. 1t is the intent of this Agreement to waive all defenses based on the statute of
limitations with respect to any prosecution of conduct set forth in the attached Proffer of Proof
that is not time-barred on the date that this Agreement is signed.

c. Trial Rights

Your client understands that by pleading guilty in this case your client agrees to waive
certain rights afforded by the Constitution of the United States and/or by statute or rule. Your

Page 5 of 10

Case 1:18-mj-00123-DAR Document 6 Filed 10/10/18 Page 6 of 11

client acknowledges that, on August 29, 2018, in your presence, he reviewed classified and
unclassified materials related to the charge to which he is pleading guilty. Your client agrees to
forego the right to any further discovery or disclosures of information not already provided at the
time of the entry of your client’s guilty plea. Your client also agrees to waive, among other
rights, the right to plead not guilty, and the right to a trial. If there were a trial, your client would
have the right to be represented by counsel, to confront and cross-examine witnesses against
your client, to challenge the admissibility of evidence offered against your client, to compel
witnesses to appear for the purpose of testifying and presenting other evidence on your client’s
behalf, and to choose whether to testify. If there were a trial and your client chose not to testify
at that trial, your client would have the right to have the fact-finder instructed that your client’s
failure to testify could not be held against your client. Your client would further have the right to
have the fact-finder instructed that your client is presumed innocent until proven guilty, and that
the burden would be on the United States to prove your client’s guilt beyond a reasonable doubt.
If your client were found guilty after a trial, your client would have the right to appeal your
client’s conviction. Your client understands that the Fifth Amendment to the Constitution of the
United States protects your client from the use of self-incriminating statements in a criminal
prosecution. By entering a plea of guilty, your client knowingly and voluntarily waives or gives
up your client’s right against self-incrimination.

Your client acknowledges discussing with you Rule 1 1(f) of the Federal Rules of
Criminal Procedure and Rule 410 of the Federal Rules of Evidence, which ordinarily limit the
admissibility of statements made by a defendant in the course of plea discussions or plea
proceedings if a guilty plea is later withdrawn. Your client knowingly and voluntarily waives the
rights that arise under these rules in the event your client withdraws your client’s guilty plea or
withdraws from this Agreement after signing it.

Your client also agrees to waive all constitutional and statutory rights to a speedy
sentence and agrees that the plea of guilty pursuant to this Agreement will be entered at a time
decided upon by the parties with the concurrence of the Court. Your client understands that the
date for sentencing will be set by the Court.

d. Appeal Rights

Your client agrees to waive the right to appeal the conviction in this case on any basis
permitted by law, including but not limited to claim(s) that (1) the statute(s) to which your client
is pleading guilty is unconstitutional, and (2) the admitted conduct does not fall within the scope
of the statute(s). Your client understands that federal law, specifically 18 U.S.C. § 3742, affords
defendants the right to appeal their sentences in certain circumstances Your client also agrees to
waive the right to appeal the sentence in this case, including but not limited to any term of
imprisonment, fine, forfeiture, award of restitution, term or condition of supervised release,
authority of the Court to set conditions of release, and the manner in which the sentence was
determined, except to the extent the Court sentences your client above the statutory maximum or
guidelines range determined by the Court. In agreeing to this waiver, your client is aware that
your client’s sentence has yet to be determined by the Court. Realizing the uncertainty in
estimating what sentence the Court ultimately will impose, your client knowingly and willingly
waives your client’s right to appeal the sentence, to the extent noted above, in exchange for the

Page 6 of 10

Case 1:18-mj-00123-DAR Document 6 Filed 10/10/18 Page 7 of 11

concessions made by the Government in this Agreement. Notwithstanding the above agreement
to waive the right to appeal the conviction and sentence, your client retains the right to appeal on
the basis of ineffective assistance of counsel, but not to raise on appeal other issues regarding the
conviction or sentence.

e. Collateral Attack

Your client also waives any right to challenge the conviction entered or sentence imposed
under this Agreement or otherwise attempt to modify or change the sentence or the manner in
which it was determined in any collateral attack, including, but not limited to, a motion brought
under 28 U.S.C. § 2255 or Federal Rule of Civil Procedure 60(b), except to the extent such a
motion is based on newly discovered evidence or on a claim that your client received ineffective
assistance of counsel. Your client reserves the right to file a motion brought under 18 U.S.C.

§ 3582(0)(2), but agrees to waive the right to appeal the denial of such a motion.

ll. Use of Seli`-Incriminating information

The Government and your client agree, in accordance with U.S.S.G. § 1B1.8, that the
Government will be free to use against your client for any purpose at the sentencing in this case
or in any related criminal or civil proceedings, any self-incriminating information provided by
your client pursuant to this Agreement or during the course of debriefings conducted in
anticipation of this Agreement, regardless of whether those debriefings were previously covered
by an “off the record” agreement by the parties.

12. Restitution

Your client understands that the Court has an obligation to determine whether, and in
what amount, mandatory restitution applies in this case under 18 U.S.C. § 3663A.

Payments of restitution shall be made to the Clerk of the Court. In order to facilitate the
collection of financial obligations to be imposed in connection with this prosecution, your client
agrees to disclose fully all assets in which your client has any interest or over which your client
exercises control, directly or indirectly, including those held by a spouse, nominee or other third
party. Your client agrees to be contacted by the Financial Litigation Unit of the United States
Attorney’s Office, through defense counsel, to complete a financial statement. Upon review, if
there are any follow-up questions, your client agrees to cooperate with the Financial Litigation
Unit. Your client promises that the financial statement and disclosures will be complete,
accurate and truthful, and understands that any willful falsehood on the financial statement could
be prosecuted as a separate crime punishable under 18 U.S.C. § 1001, which carries an additional

five years’ incarceration and a fine.

Your client expressly authorizes the United States Attorney’s Office to obtain a credit
report on your client in order to evaluate your client’s ability to satisfy any financial obligations
imposed by the Court or agreed to herein.

Page 7 of 10

Case 1:18-mj-00123-DAR Document 6 Filed 10/10/18 Page 8 of 11

Your client understands and agrees that the restitution or fines imposed by the Court will
be due and payable immediately and subject to immediate enforcement by the United States. If
the Court imposes a schedule of payments, your client understands that the schedule of payments
is merely a minimum schedule of payments and will not be the only method, nor a limitation on
the methods, available to the United States to enforce the criminal judgment, including without
limitation by administrative offset. If your client is sentenced to a term of imprisonment by the
Court, your client agrees to participate in the Bureau of Prisons’ Inmate Financial Responsibility
Program, regardless of whether the Court specifically imposes a schedule of payments.

Your client certifies that your client has made no transfer of assets in contemplation of
this prosecution for the purpose of evading or defeating financial obligations that are created by
this Agreement and/or that may be imposed by the Court. In addition, your client promises to
make no such transfers in the future until your client has fulfilled the financial obligations under

this Agreement.
13. Immij_ration Conseq l_l§nces

Your client represents, and the government understands, that he is a lawful United States
citizen. If this is not the case, your client may be subject to deportation or removal from the
United States, as well as other serious immigration consequences

14. Breacll of Agreement

Your client understands and agrees that, if after entering this Agreement, your client fails
specifically to perform or to fulfill completely each and every one of your client’s obligations
under this Agreement, or engages in any criminal activity prior to sentencing, your client will
have breached this Agreement. In the event of such a breach: (a) the Government will be free
from its obligations under this Agreement; (b) your client will not have the right to withdraw the
guilty plea; (c) your client will be fully subject to criminal prosecution for any other crimes,
including perjury and obstruction of justice; and (d) the Government will be free to use against
your client, directly and indirectly, in any criminal or civil proceeding, all statements made by
your client and any of the information or materials provided by your client, including such
statements, information and materials provided pursuant to this Agreement or during the course
of any debriefings conducted in anticipation of, or after entry of, this Agreement, whether or not
the debriefings were previously characterized as “off-the-record” debriefings, and including your
client’s statements made during proceedings before the Court pursuant to Rule 11 of the Federal
Rules of Criminal Procedure.

Your client understands and agrees that the Government shall be required to prove a
breach of this Agreement only by a preponderance of the evidence, except where such breach is
based on a violation of federal, state, or local criminal law, which the Government need prove
only by probable cause in order to establish a breach of this Agreement.

Nothing in this Agreement shall be construed to permit your client to commit perjury, to

make false statements or declarations, to obstruct justice, or to protect your client from
prosecution for any crimes not included within this Agreement or committed by your client after

Page 8 of 10

Case 1:18-mj-00123-DAR Document 6 Filed 10/10/18 Page 9 of 11

the execution of this Agreement. Your client understands and agrees that the Government
reserves the right to prosecute your client for any such offenses. Your client further understands
that any perjury, false statements or declarations, or obstruction of justice relating to your client’s
obligations under this Agreement shall constitute a breach of this Agreement. In the event of
such a breach, your client will not be allowed to withdraw your client’s guilty plea.

15. Complcte Agreement

No agreements, promises, understandings, or representations have been made by the
parties or their counsel other than those mentioned in writing herein, nor will any such
agreements, promises, understandings, or representations be made unless committed to writing
and signed by your client, defense counsel, and an Assistant United States Attorney for the
District of Columbia.

Your client further understands that this Agreement is binding only upon the Criminal
and Superior Court Divisions of the United States Attorney’s Office for the District of Columbia.
This Agreement does not bind the Civil Division of this Office or any other United States
Attorney’s Office, nor does it bind any other state, local, or federal prosecutor. lt also does not
bar or compromise any civil, tax, or administrative claim pending or that may be made against
your client.

If the foregoing terms and conditions are satisfactory, your client may so indicate by
signing this Agreement and the Proffer of Proof, and returning both to me no later than October
10, 2018.

Sincerely yours,

Jessie K. Liu
United States Attorney

By: ii ///4/ r/”:-’

"l`homas A. G`i`llice
Assistant United States Attorney

 

and

%%M

Maahew Waicz@ski
Trial Attorney
Department of Justice

Page 9 of 10

Case 1:18-mj-00123-DAR Document 6 Filed 10/10/18 Page 10 of 11

DEFENDANT’S ACCEPTANCE

1 have read every page of this Agreement and have discussed it with my attomey, Steve
McCool. 1 fully understand this Agreement and agree to it without reservation. 1 do this
voluntarily and of my own free will, intending to be legally bound. No threats have been made
to me nor am 1 under the influence of anything that could impede my ability to understand this
Agreement fully. 1 am pleading guilty because 1 am in fact guilty of the offense identified in this
Agreement.

1 reaffirm that absolutely no promises, agreements, understandings, or conditions have
been made or entered into in connection with my decision to plead guilty except those set forth

in this Agreement. 1 am satisfied with the legal services provided by my attorney in connection
with this Agreement and matters related to it.

Date: 105/omit £§lW-/%/i/'/

Azhér saiikuddin
Defendant

ATTORNEY’ S ACKNOWLEDGMENT
1 have read every page of this Agreement, reviewed this Agreement with my client,

Azher Salikuddin, and fully discussed the provisions of this Agreement with my client. These
pages accurately and completely set forth the entire Agreement. 1 concur in my client’s desire to

plead guilty as set forth in this Agreement.
\

rney for Azher Salikuddin

  

Page 10 of 10

Case 1:18-mj-00123-DAR Document 6 Filed 10/10/18 Page 11 of 11

Agreement of Azher Salikuddin

1, Azher Salikuddin, having agreed to plead guilty to a misdemeanor charge of
conversion of government property involving information of the FBI, do hereby agree to the
following:

1 will not seek or apply for a security clearance from the United States government or
from any of its Departments or Agencies, nor will 1 knowingly allow anyone else to do so on my
behalf. 1n addition, 1 will not knowingly apply for ajob which requires such a security
clearance.

DEFENDANT’S AGREEMENT

1 have read this Agreement and have discussed it with my attomey, Steve McCool. 1
fully understand this Agreement and agree to it without reservation 1 do this voluntarily and of
my own free will, intending to be legally bound. No threats have been made to me nor am 1
under the influence of anything that could impede my ability to understand this Agreement fully.

Date:¢E?L/@£ ZJ/Y / M"
Azhe sa wmata
Defendant

A'l"l`ORNEY’S ACI&'NOWLEDGMEN'I`

1 have read this entire Agreement, reviewed this Agreement with my client, Azher
Salikuddin, and fully discussed this Agreement wi ' my client.

Date: to § "0 § \<6
vc Cool /
ttorn for Azher Salikuddin

  
    

   
        

 

Witnessed by: __ ..- l r,_/?
fr 'l x . "_‘-' -"'. /. " --'-/__."
Date: (0-"/0/!/6 / l- ;§H_
Thornas` A. Gillice
Assistant United States Attorney
and

M{

Matthew Walc§ewski
Trial Attorney, Department of Justice

Page 1 of 1

